Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 1 of 16 Page ID #:7090



 1   Stephen McArthur (SBN 277712)                 Rollin A. Ransom (State Bar No. 196126)
     stephen@smcarthurlaw.com                      rransom@sidley.com
 2   Thomas Dietrich (SBN 254282)                  Lauren M. De Lilly (State Bar No. 301503)
     tom@smcarthurlaw.com                          ldelilly@sidley.com
 3   THE MCARTHUR LAW FIRM, P.C.                   Paula C. Salazar (State Bar No. 327349)
     9465 Wilshire Blvd., Ste. 300                 psalazar@sidley.com
 4   Beverly Hills, CA 90212                       SIDLEY AUSTIN LLP
     Telephone: (323) 639-4455                     555 West Fifth Street
 5                                                 Los Angeles, CA 90013
     Attorneys for Plaintiff Thrive                Telephone: (213) 896-6000
 6   Natural Care, Inc.                            Facsimile: (213) 896-6600
 7                                                 Attorneys for Defendant Thrive
                                                   Causemetics, Inc.
 8
 9                              UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
     THRIVE NATURAL CARE, INC.,                     Case No. 2:20-cv-9091-PA-AS
12
                  Plaintiff,                        Hon. Percy Anderson
13
           v.                                       DEFENDANT’S JOINT MOTION IN
14                                                  LIMINE NO. 2
     THRIVE CAUSEMETICS, INC.,
15                                                  Hearing Date: November 1, 2021
                  Defendant.                        Time:         1:30 p.m.
16
                                                    Trial Date:    November 9, 2021
17                                                  Time:          9:00 a.m.
                                                    Place:         Courtroom 9A
18
19
20
21
22
23
24
25
26
27
28

                               DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 2 of 16 Page ID #:7091



 1                                             TABLE OF CONTENTS
 2
                                                                                                                   PAGE
 3   INTRODUCTION .......................................................................................................... 1
 4   ARGUMENT .................................................................................................................. 2
 5                     TNC’s Volition Evidence Lacks Foundation and Is Prejudicial................ 2
 6                     TNC’s Evidence of Alleged Confusion Arising from TCI’s Sale of
 7                     Cosmetic Products is Irrelevant and Unfairly Prejudicial ......................... 3

 8                     TNC’s Ertz Testimony Constitutes Inadmissible Hearsay ........................ 4

 9            PLAINTIFF’S RESPONSE TO TCI’S MOTION IN LIMINE NO. 4 ................ 4

10                     Evidence of Confusion Regarding Parties and Products is Relevant ........ 5

11                     Testimony Regarding Agent’s Statements Regarding Confusion and Plan
                       to End Ertz Business Relation are Admissible .......................................... 7
12            DEFENDANT’S REPLY ..................................................................................... 8
13                     Evidence of Confusion Based on Cosmetics Products is Irrelevant and
14                     Highly Prejudicial ...................................................................................... 9

15                     Mr. McIntosh’s Testimony Regarding the Alleged Statement of the Ertzs’
                       Agent Is Inadmissible Double Hearsay.................................................... 10
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                 -i-
                                    DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 3 of 16 Page ID #:7092



 1                                             TABLE OF AUTHORITIES
 2
                                                                                                                             Page(s)
 3
     Cases
 4
     AMF Inc. v. Sleekcraft Boats,
 5
       599 F.2d 341 (9th Cir. 1979) ........................................................................ 5, 6, 9
 6
     Bourjaily v. United States,
 7     483 U.S. 171 (1987).............................................................................................. 4
 8
     Conversive, Inc. v. Conversagent, Inc.,
 9     433 F. Supp. 2d 1079 (C.D. Cal. 2006) .......................................................... 7, 10
10   Cooper v. Montgomery Cty., Ohio,
11     No. 3:13 C 272, 2018 WL 272523 (S.D. Ohio Jan. 2, 2018) ............................... 3
12   Fierberg v. Hyundai Motor Am.,
        No. CV 97-5382 DT(CTX), 1997 WL 715457 (C.D. Cal. Aug. 18,
13
        1997) .................................................................................................................. 10
14
     Gastroceuticals, LLC v. Diamond Water, LLC,
15     No. CV 13-8073DMG(AJWX), 2014 WL 12318803 (C.D. Cal. Jan. 3,
16     2014) ..................................................................................................................... 9
17   Henein v. Saudi Arabian Parsons Ltd.,
18     818 F.2d 1508 (9th Cir. 1987), cert. denied, 484 U.S. 1009 (1988) .................... 4

19   Ironhawk Techs., Inc. v. Dropbox, Inc.,
        2 F.4th 1150 (9th Cir. 2021) ................................................................................. 5
20
21   Lahoti v. Vericheck, Inc.,
       636 F.3d 501 (9th Cir. 2011) .......................................................................... 7, 10
22
     Sorchini v. City of Covina,
23      250 F.3d 706 (9th Cir. 2001) .............................................................................. 11
24
     U.S. for Use & Benefit of Remtech, Inc. v. Nat'l Union Fire Ins. Co. of
25      Pittsburgh, PA,
26      234 F.3d 1278 (9th Cir. 2000) ........................................................................ 8, 11

27   United States v. Hankey,
       203 F.3d 1160 (9th Cir. 2000) .............................................................................. 6
28
                                                                    -ii-
                                      DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 4 of 16 Page ID #:7093



 1   United States v. Owens,
 2     699 F. Supp. 815 (C.D. Cal. 1988), aff'd sub nom. United States v.
       Owens-El, 889 F.2d 913 (9th Cir. 1989) .............................................................. 2
 3
     Utica Mut. Ins. Co. v. Munich Reinsurance Am., Inc.,
 4
        No. 6:12-CV-00196BKS(ATB), 2018 WL 3135847 (N.D.N.Y. June
 5      27, 2018) ............................................................................................................... 3
 6   Statutes and Rules
 7
     15 U.S.C. § 1125 ........................................................................................................ 5
 8
     Ninth Circuit Rule 36-3 ........................................................................................... 11
 9
     Fed. R. Evid. 401 ................................................................................................... 3, 5
10
11   Fed. R. Evid. 402 ................................................................................................... 1, 3
12   Fed. R. Evid. 403 ................................................................................................... 3, 6
13   Fed. R. Evid. 602 ....................................................................................................... 2
14
     Fed. R. Evid. 801 ....................................................................................................... 4
15
     Fed. R. Evid. 803 ............................................................................................... 4, 7, 9
16
     Fed. R. Evid. 803(3)......................................................................................... 7, 8, 10
17
18
19
20
21
22
23
24
25
26
27
28
                                                                   -iii-
                                      DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 5 of 16 Page ID #:7094



 1                                      INTRODUCTION
 2           In this trademark infringement action, Plaintiff Thrive Natural Care, Inc.
 3   (“TNC”) seeks to present certain evidence of alleged actual confusion that should be
 4   excluded under the Federal Rules of Evidence, including Rules 402, 403, 602 and 803.
 5   Specifically, TNC should be barred from submitting the following evidence to the
 6   jury:
 7           (1) a document created by third-party Volition Capital, LLC (“Volition”) that
 8   uses the logo of Defendant Thrive Causemetics, Inc. (“TCI”) in recognizing a group
 9   of “Mission-Driven Brands” (Declaration of Lauren M. De Lilly (“De Lilly Decl.”),
10   Ex. A, and TNC’s speculative testimony that Volition actually intended to refer to
11   TNC;
12           (2) an Amazon customer review of TNC products that also references TCI’s
13   mascara product (De Lilly Decl. Ex. B and Ex. C); and
14           (3) an email from Lisa Ertz regarding a prospective partnership in 2019
15   between TNC and professional athletes Zach and Julie Ertz, wherein Ms. Ertz
16   references TCI makeup products (De Lilly Decl., Ex. D), and the related testimony of
17   TNC co-founder Alex McIntosh that the partnership did not occur in part because of
18   confusion between TNC and TCI (De Lilly Decl., Ex. E (TNC 30(b)(6)) at 261:18 –
19   264:25).
20           First, by its own admission, TNC lacks foundation to provide any testimony
21   regarding the Volition document – no one at TNC has ever communicated with
22   anyone from Volition, and TNC has no other evidence regarding it. See De Lilly
23   Decl. Ex. E (TNC 30(b)(6)) at 260:12-14; De Lilly Decl., Ex. F (TNC RFA responses)
24   at 2:14-16. As such, TNC’s proposed testimony on the matter is purely speculative.
25   Second, any evidence of alleged actual confusion arising from TCI’s sale of cosmetic
26   products (including the Amazon review and the Lisa Ertz evidence) should be
27   excluded as irrelevant and prejudicial to TCI. TNC filed its First Amended Complaint
28
                                                 -1-
                             DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 6 of 16 Page ID #:7095



 1   (“FAC”) on July 1, 2021, and abandoned any claim of alleged infringement relating to
 2   TCI’s cosmetic products. See generally ECF No. 26. Accordingly, any alleged actual
 3   confusion caused by TCI’s use of the term “THRIVE” in connection with cosmetics is
 4   irrelevant to the issues in the case. Third, Mr. McIntosh’s testimony that the Ertzs’
 5   did not move forward with a partnership with TNC due to brand confusion violates
 6   the rule against hearsay – it is based solely on an out-of-court statement allegedly
 7   made by the Ertzs’ agent, and no exception to the rule against hearsay is applicable.
 8   Accordingly, TNC should be precluded from submitting this proposed evidence to the
 9   jury.
10                                        ARGUMENT
11                 TNC’s Volition Evidence Lacks Foundation and Is Prejudicial
12           TNC has admitted in its discovery responses that Volition never advised TNC
13   that it intended to refer to TNC in its blog post, and Mr. McIntosh admitted in
14   capacity as TNC’s 30(b)(6) witness that TNC has never even communicated with
15   Volition. DeLilly Decl. Ex. E (TNC 30(b)(6)) at 260:12-14; De Lilly Decl., Ex. F
16   (TNC RFA responses) at 2:14-16. Yet TNC asserts that a Volition document
17   regarding “Mission-Driven Brands” that includes TCI’s logo was instead intended to
18   refer to TNC, and Thrive Causemetics “got credit and recognition that it did not earn,
19   due to confusion[.]” De Lilly Decl., Ex. G (TNC ROG responses) at 4:6-11. These
20   assertions by TNC are purely speculative, lack foundation, and should be excluded.
21           A witness must have “personal knowledge of the matter” to which he or she
22   testifies. Fed. R. Evid. 602. However, TNC has conceded that none of its witnesses
23   has personal knowledge that Volition intended to recognize TNC rather than TCI.
24   TNC thus cannot satisfy Rule 602 with respect to Volition’s intentions. United States
25   v. Owens, 699 F. Supp. 815, 818 (C.D. Cal. 1988), aff'd sub nom. United States v.
26   Owens-El, 889 F.2d 913 (9th Cir. 1989). And in light of this lack of foundation, the
27   risk of unfair prejudice to TCI and misleading the jury substantially outweighs any
28
                                                -2-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 7 of 16 Page ID #:7096



 1   probative value the document may have. As such, evidence regarding the Volition
 2   document is also properly excludable under Rule 403.
 3                TNC’s Evidence of Alleged Confusion Arising from TCI’s Sale of
 4                Cosmetic Products is Irrelevant and Unfairly Prejudicial
 5         Federal Rules of Evidence 401 and 402 require that evidence must be relevant.
 6   Fed. R. Evid. 401, 402. Evidence relating to withdrawn or dismissed claims is not
 7   relevant and poses a high risk of unfair prejudice. See Utica Mut. Ins. Co. v. Munich
 8   Reinsurance Am., Inc., No. 6:12-CV-00196BKS(ATB), 2018 WL 3135847, at *10
 9   (N.D.N.Y. June 27, 2018) (granting motion in limine to exclude all evidence relating
10   to plaintiff’s withdrawn claims as irrelevant, and even if it were minimally relevant,
11   “any probative value is substantially outweighed by the danger of ‘unfair
12   prejudice[,]’” under Rule 403); see also Cooper v. Montgomery Cty., Ohio, No. 3:13
13   C 272, 2018 WL 272523, at *3 (S.D. Ohio Jan. 2, 2018) (granting defendant's motion
14   to exclude evidence respecting dismissed claims as irrelevant and presenting
15   substantial danger of unfair prejudice).
16         In its FAC, TNC voluntarily withdrew Counts 1 and 3 of its original complaint,
17   which asserted that TCI’s use of the term “THRIVE” in connection with color
18   cosmetics infringed on TNC’s claimed trademark rights, and instead limited its claim
19   to skincare products. See ECF Nos. 26, 26-2. Evidence related to alleged actual
20   confusion arising from TCI’s sale of cosmetics is therefore no longer probative of a
21   fact that “is of consequence in determining the action,” Fed. R. Evid. 401, and is
22   therefore irrelevant and inadmissible. Fed. R. Evid. 401, 402. To the extent this
23   evidence does retain any probative value, it is substantially outweighed by the risk of
24   misleading the jury and unfair prejudice to TCI. TNC’s proposed trial exhibits that
25   reflect only alleged confusion involving cosmetics products 1 should be excluded as
26   irrelevant under Rules 401 and 402, and unfairly prejudicial under Rule 403.
27   1
      See De Lilly Decl., Exs. B and C (screenshot of Amazon customer review of a TNC
     moisturizer stating “Thrive is an up and comer in the cosmetics field. Their mascara is
28   phenomenal and this facial moisturizer with sunscreen is a plus in their line.”); Ex. D
                                                -3-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 8 of 16 Page ID #:7097



 1                TNC’s Ertz Testimony Constitutes Inadmissible Hearsay
 2         TNC’s evidence that it lost a partnership with the Ertz family because of alleged
 3   confusion is not only excludable because it pertains to a claim that TNC has
 4   abandoned in the FAC, but also because it is inadmissible hearsay. TNC seeks to
 5   offer an out-of-court statement that the Ertzs’ sports agent purportedly made to Mr.
 6   McIntosh, namely, that the Ertzs’ were declining to enter into a partnership with TNC
 7   in part because of brand confusion between TNC and TCI. De Lilly Decl., Ex. E
 8   (TNC 30(b)(6)) at 261:18 – 264:25. Specifically, Mr. McIntosh testified that the
 9   Ertzs’ agent told him in a phone conversation that “in large part, they were going to
10   pass on a potential partnership … because there seemed to be some confusion.” De
11   Lilly Decl., Ex. E (TNC 30(b)(6)) at 262:25 – 263:3; see also id. at 263:21-25.
12         This proposed evidence constitutes hearsay, as it is “offer[ed] in evidence to
13   prove the truth of the matter asserted in the statement.” Fed. R. Evid. 801. Hearsay is
14   inadmissible at trial unless it comes under one of the exceptions set forth in Rule 803.
15   Henein v. Saudi Arabian Parsons Ltd., 818 F.2d 1508, 1512 (9th Cir. 1987), cert.
16   denied, 484 U.S. 1009 (1988). The proponent of hearsay must prove an exception by
17   a preponderance of the evidence, Bourjaily v. United States, 483 U.S. 171, 175 (1987),
18   and no exception is applicable here. The evidence and any argument relating to it
19   should be excluded on this ground as well.
20         For the foregoing reasons, TCI respectfully requests that the Court grants TCI’s
21   motion to exclude the evidence of alleged confusion described herein.
22         PLAINTIFF’S RESPONSE TO TCI’S MOTION IN LIMINE NO. 4
23         TCI’s motion combines three different, unrelated issues, which should have
24   been brought in separate motions. Thrive objects that this is a violation of the Court’s
25   rule limiting motions in limine to four. [Dkt. 19 at 8] With regard to the document
26   from Volition Capital, Plaintiff Thrive Natural Care, Inc. (“Thrive”) withdraws the
27
     (email from Lisa Ertz to Alex McIntosh stating “[w]onderful to meet the man behind
28   my 3 must have beauty products in my case!”)
                                                -4-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 9 of 16 Page ID #:7098



 1   evidence and will not seek to admit it or testimony relating to it at trial. The other two
 2   issues are addressed in turn.
 3                 Evidence of Confusion Regarding Parties and Products is Relevant
 4         There is no legal basis to exclude the Amazon review or Ms. Ertz’ email, both
 5   of which support the likelihood of future confusion between skincare products sold by
 6   both parties using the “Thrive” name. Actual confusion evidence is relevant to the
 7   Sleekcraft likelihood of confusion test not to prove that some damage was caused by
 8   past confusion, but rather because “[e]vidence that use of the two marks has already
 9   led to confusion is persuasive proof that future confusion is likely.” AMF Inc. v.
10   Sleekcraft Boats, 599 F.2d 341, 352 (9th Cir. 1979) (emphasis added). Under the
11   Lanham Act, this can be confusion or mistake as to the “affiliation, connection, or
12   association” between the parties or “as to the origin, sponsorship, or approval” of the
13   parties’ goods. 15 U.S.C. § 1125(a)(1)(A). With regard to reverse confusion, this
14   occurs “when a person who knows only of the well-known junior user comes into
15   contact with the lesser-known senior user, and because of the similarity of the marks,
16   mistakenly thinks that the senior user is the same as or is affiliated with the junior
17   user.” Ironhawk Techs., Inc. v. Dropbox, Inc., 2 F.4th 1150, 1160 (9th Cir. 2021).
18         The evidence at issue here is relevant because it is probative of whether future
19   confusion between the parties’ THRIVE-branded skincare products is likely, which is
20   clearly a fact of consequence in this case. See Fed. R. Evid. 401. The customer who
21   left the Amazon review came into contact with Plaintiff Thrive’s skincare product and
22   believed that it came from TCI. Ms. Ertz came into contact with Thrive as a company,
23   and believed it to be the same as or affiliated with TCI. Whether or not these two
24   people first learned about TCI because of its cosmetics products is neither here nor
25   there. Regardless of whether that is true, the evidence supports the conclusion that
26   TCI’s sale of skincare products bearing the “THRIVE causemetics” mark is likely to
27   cause future confusion with Thrive’s skincare products bearing the THRIVE mark.
28         Further, TCI’s assumption that this evidence “reflect[s] only alleged confusion
                                                 -5-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 10 of 16 Page ID #:7099



 1   involving cosmetics products” is unsupported. Merely because the Amazon customer
 2   referred to TCI as being in the “cosmetics field” does not mean they were unaware of
 3   TCI’s skincare line. The review was posted in July 2019, well after TCI admits it had
 4   launched and begun to expand its skincare line. Likewise, Ms. Ertz’ email was sent in
 5   June 2019. Ms. Ertz’s “3 must have beauty products” could certainly have been TCI
 6   skincare products and TCI has not shown otherwise. Indeed, one of TCI’s infringing
 7   skincare products that was available when Ms. Ertz wrote her email, TCI’s Defying
 8   Gravity Eye Lifting Cream, is advertised as “fight[ing] signs of stress, aging and
 9   dullness” and is “like beauty sleep in a bottle!” See TCI skincare product page at
10   https://thrivecausemetics.com/products/defying-gravity-eye-lifting-cream (last visited
11   October 8, 2021). As such, TCI’s supposition that these instances of actual confusion
12   relate only to its cosmetics products is unsupported. And even if that were true, the
13   evidence would remain relevant because it supports the conclusion that future
14   confusion between the parties’ skincare products is likely.
15         This evidence should not be excluded under Rule 403. “Relevant evidence is
16   inherently prejudicial; but it is only unfair prejudice, substantially outweighing
17   probative value, which permits exclusion of relevant matter under Rule 403.” United
18   States v. Hankey, 203 F.3d 1160, 1172 (9th Cir. 2000) (emphasis added). “[U]nfair
19   prejudice means ‘undue tendency to suggest decision on an improper basis,
20   commonly, though not necessarily, an emotional one.’” Id. (quoting Advisory
21   Committee Notes to Fed. R. Evid. 403). As the Ninth Circuit noted, evidence such as
22   that at issue here is “persuasive proof” of future confusion. Sleekcraft, 599 F.2d at
23   352. TCI has not identified any actual prejudice caused by this evidence, beyond the
24   fact of its relevance to the likelihood of confusion analysis. No such unfair prejudice
25   exists, and certainly not in sufficient quantity to substantially outweigh the probative
26   value of this actual confusion evidence. Therefore, the Court should deny TCI’s
27   attempt to exclude the Amazon review and Ertz email, both of which are relevant to
28   the issue of likelihood of confusion and not unduly prejudicial. The two unpublished,
                                                -6-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 11 of 16 Page ID #:7100



 1   out-of-circuit decisions cited by TCI in its motion are not trademark cases and do not
 2   warrant a different result (or bear the slightest relation to the circumstances here).
 3                Testimony Regarding Agent’s Statements Regarding Confusion and
 4                Plan to End Ertz Business Relation are Admissible
 5         Mr. McIntosh’s testimony regarding the Ertz family’s business agent’s
 6   statements are admissible under Rule 803(3) of the Federal Rules of Evidence. Mr.
 7   McIntosh testified: “What I recall him saying is that... There was confusion. That Ms.
 8   Ertz... was confused about which Thrive did which, or if it was the same company or
 9   different companies….I remember that clearly from the conversation [with the agent]
10   of him just saying that there was confusion about is this one company or is it two
11   companies, and that being something that an agent didn’t want to get his ‘busy and
12   becoming very, very famous’ clients involved in.” [McIntosh Depo. 263:21-264:9]
13         In Conversive, Inc. v. Conversagent, Inc., 433 F. Supp. 2d 1079 (C.D. Cal.
14   2006), the court found admissible over defendant’s hearsay objection the “deposition
15   testimony of plaintiff’s sales personnel regarding conversations they had with
16   potential purchasers” that concerned confusion between the parties. Id. at 1091. That
17   court held such out-of-court statements showed “the then-existing state of mind of the
18   declarant and that they are therefore admissible under an exception to the hearsay
19   rule.” Id.; Fed. R. Evid. 803(3). The Ninth Circuit followed that ruling in Lahoti v.
20   Vericheck, Inc., 636 F.3d 501 (9th Cir. 2011), stating that “[t]hough the customers’
21   statements were clearly offered for the truth of the matter, they are permissible under
22   the ‘state of mind’ exception to the hearsay rule.” Id. at 509. Mr. McIntosh’s
23   testimony concerning the agent’s statements about confusion between Thrive and TCI
24   are identical to the statements found admissible in Conversive and Lahoti and are thus
25   admissible here.
26         The agent’s statement about confusion causing him to want to terminate the
27   proposed business relationship is also admissible under Rule 803(3) as a statement of
28   the agent’s state of mind—specifically of his motive, intent, or plan to cancel the deal
                                                 -7-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 12 of 16 Page ID #:7101



 1   between the Ertzs and TCI. The Ninth Circuit addressed similar circumstances in U.S.
 2   for Use & Benefit of Remtech, Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, PA, 234
 3   F.3d 1278 (9th Cir. 2000). There, the plaintiff, Remtech, sought to admit testimony
 4   from one of defendant’s employees, O’Neill, that another of defendant’s employees,
 5   Fenstermacher, had said that he intended to get Remtech removed from the project at
 6   issue in the litigation. Id. at *3 (defendant objected to “O’Neill's statement that
 7   Fenstermacher expected Remtech to be off the project”). The Ninth Circuit affirmed
 8   the district court’s ruling that this testimony was admissible under Rule 803(3) as
 9   relating to the declarant’s state of mind. Id. Specifically, it was proper to “allow
10   O'Neill to testify to Fenstermacher’s statement, since the statement did appear to
11   establish—at least under Remtech’s theory of the case—Fenstermacher’s intent or
12   plan to get Remtech off the project; a plan he arguably later carried out.” Id. Here, Mr.
13   McIntosh’s testimony regarding the agent’s statements that he planned to terminate
14   the relationship between Thrive and the Ertzs because of confusion between Thrive
15   and TCI establishes the agent’s intent or plan to stop the deal with Thrive. And the
16   deal was subsequently terminated. The agent’s statements are therefore almost
17   identical to the statements deemed admissible in Remtech and are admissible here
18   under Rule 803(3).
19         In sum, the Court should deny TCI’s motion with regard to Amazon review and
20   Ertz email, which are probative of a likelihood of future confusion. The Court should
21   also deny TCI’s attempt to exclude relevant testimony concerning the proposed Ertz
22   deal, which is admissible under an exception to the hearsay rule.
23         DEFENDANT’S REPLY
24         TNC has now withdrawn its claim respecting Volition, having recognized it is
25   speculative and lacks any foundation. TNC attempts to save the other challenged
26   evidence of alleged actual confusion, but its efforts fall woefully short. The fact
27   remains that the First Amended Complaint, which is the operative pleading, alleges
28   infringement only with respect to TCI’s skincare products, such that evidence of
                                                 -8-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 13 of 16 Page ID #:7102



 1   alleged confusion related to non-infringing cosmetic products is both irrelevant and
 2   misleading. In addition, Mr. McIntosh’s testimony regarding an out-of-court
 3   statement by the Ertzs’ sports agent declining a partnership with TNC ostensibly
 4   because of Ms. Ertz’s confusion is classic double hearsay without a valid exception
 5   under Rule 803; notably, the only authority that TNC invokes in support of its claim
 6   that the agent’s alleged statement as to the reason for refusing to enter into a business
 7   relationship with TNC is an unpublished Ninth Circuit case cited in direct violation of
 8   the Ninth Circuit Local Rules.
 9         Evidence of Confusion Based on Cosmetics Products is Irrelevant and
10         Highly Prejudicial
11         The crux of the likelihood of confusion test is whether a consumer would be
12   confused “between the original trademark and the allegedly infringing product[.]”
13   Gastroceuticals, LLC v. Diamond Water, LLC, No. CV 13-8073DMG(AJWX), 2014
14   WL 12318803, at *3 (C.D. Cal. Jan. 3, 2014) (emphasis added). It follows that the
15   actual confusion factor of the Sleekcraft likelihood of confusion test is “persuasive
16   proof that future confusion is likely” only as it pertains to confusion with respect to
17   allegedly infringing products. AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 352 (9th
18   Cir. 1979). TNC nonetheless makes an illogical jump, claiming that any evidence of
19   actual confusion, even involving products that are not “allegedly infringing products,”
20   is probative of the likelihood of future confusion between TNC and TCI’s skincare
21   products. TNC has provided no basis for this assertion (and this portion of its
22   argument is conspicuously devoid of any citation to case law). The Amazon review
23   and the Ms. Ertz evidence relate to TCI’s cosmetic products, not its allegedly
24   infringing skincare products, and these examples therefore do not tend to show that
25   confusion with skincare products is likely. If anything, these examples show the
26   opposite to be true. As TNC points out, these two examples occurred in 2019 after
27   TCI began selling skincare products, yet neither mentions anything related to TCI
28   skincare products.
                                                -9-
                            DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 14 of 16 Page ID #:7103



 1         Any limited probative value these two examples may have is substantially
 2   outweighed by the risk of unfair prejudice to TCI by creating the appearance of actual
 3   confusion as to products that are not the subject of TNC’s operative infringement
 4   claims. The evidence of the Amazon review and Ms. Ertz’s e-mail should be
 5   excluded.
 6         Mr. McIntosh’s Testimony Regarding the Alleged Statement of the Ertzs’
 7         Agent Is Inadmissible Double Hearsay
 8         Mr. McIntosh’s testimony regarding the alleged statement of the Ertzs’ sports
 9   agent – i.e., that his clients would not partner with TNC because of alleged confusion
10   –is clearly being offered to prove its truth, namely, that TNC lost the deal because of
11   Ms. Ertz’s confusion. The authority relied upon by TNC is either distinguishable or
12   uncitable.
13         First, Conversive and Lahoti are not applicable. Unlike both these cases, the
14   agent’s out-of-court statement is not being offered to show that the agent, as declarant,
15   had a confused state of mind – instead, Mr. McIntosh proposes to testify about what
16   the agent said about Ms. Ertz’s confusion. See DeLilly Decl. Ex. E (TNC 30(b)(6)) at
17   263:21-24 (emphasis added). (“What I recall him saying is that... There was
18   confusion. That Ms. Ertz did think that -- she was confused about which Thrive did
19   which[.]”). The “state of mind” exception in Rule 803(3), upon which TNC attempts
20   to rely, does not apply to this double hearsay, in which one hearsay declarant
21   discusses the alleged confusion of other hearsay declarants. See Fierberg v. Hyundai
22   Motor Am., No. CV 97-5382 DT(CTX), 1997 WL 715457, at *2 (C.D. Cal. Aug. 18,
23   1997) (excluding as “double hearsay” letters from plaintiff’s sponsors stating their
24   intention to withdraw sponsorship because potential clients had communicated to
25   them that they were confused between plaintiff and other companies: “it appears that
26   the confusion was not by those who wrote the letters,” but other parties).
27         Equally inadmissible is Mr. McIntosh’s testimony regarding the agent’s alleged
28   statement that the Ertzs would not enter into a business arrangement because of Ms.
                                               -10-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 15 of 16 Page ID #:7104



 1   Ertz’s confusion. The only authority cited by TNC in support of its claim that this
 2   testimony – which is indisputably being offered for the truth of the alleged causal
 3   connection – is U.S. for Use & Benefit of Remtech, Inc. v. Nat’l Union Fire Ins. Co. of
 4   Pittsburgh, PA, 234 F.3d 1278 (9th Cir. 2000) (“Remtech”). However, Remtech is an
 5   unpublished Ninth Circuit disposition from 2000. Under Ninth Circuit Rule 36-3
 6   (which rule is prominently referenced at the top of the opinion), “[u]npublished
 7   dispositions and orders of this Court issued before January 1, 2007 may not be cited to
 8   the courts of this circuit,” except in limited circumstances inapplicable here. See
 9   Ninth Circuit Rules, Rule 36-3 (available at
10   http://cdn.ca9.uscourts.gov/datastore/uploads/rules/frap.pdf). Violation of this rule is
11   sanctionable. See Sorchini v. City of Covina, 250 F.3d 706, 709 (9th Cir. 2001) (per
12   curium) (recognizing that violations of Rule 36-3 are sanctionable). TNC’s argument
13   is therefore bereft of any authority, and is in all events wrong: this proposed testimony
14   by Mr. McIntosh is also inadmissible double hearsay, as the out-of-court statement of
15   the agent (hearsay) is directly tied to Ms. Ertz’s alleged confusion (double hearsay),
16   and as discussed above, TNC has not sustained its burden of demonstrating that the
17   “state of mind” exception reaches either level (much less both levels) of hearsay.
18
      DATED: October 15, 2021               SIDLEY AUSTIN LLP
19
                                            By: /s/ Rollin A. Ransom
20                                          Rollin A. Ransom (State Bar No. 196126)
21                                          rransom@sidley.com
                                            Lauren M. De Lilly (State Bar No. 301503)
22                                          ldelilly@sidley.com
23                                          Paula C. Salazar (State Bar No. 327349)
                                            psalazar@sidley.com
24                                          SIDLEY AUSTIN LLP
25                                          555 West Fifth Street
                                            Los Angeles, CA 90013
26                                          Telephone: (213) 896-6000
27                                          Facsimile: (213) 896-6600
28
                                               -11-
                           DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
Case 2:20-cv-09091-PA-AS Document 151 Filed 10/15/21 Page 16 of 16 Page ID #:7105



 1                                            Attorneys for Defendant Thrive
                                              Causemetics, Inc.
 2
 3    Dated: October 15, 2021                 THE MCARTHUR LAW FIRM, PC
 4                                            By: /s/ Stephen C. McArthur
                                              STEPHEN C. MCARTHUR
 5                                            Stephen McArthur
                                              stephen@smcarthurlaw.com
 6                                            Thomas Dietrich
                                              tom@smcarthurlaw.com
 7                                            9465 Wilshire Blvd., Ste. 300
                                              Beverly Hills, CA 90212
 8                                            Telephone: (323) 639-4455
 9
10                                SIGNATURE ATTESTATION
11             I am the CM/ECF filer whose identification and password are being used to file
12   the foregoing Defendant’s Joint Motion in Limine No. 2. In compliance with Local
13   Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that every signatory has concurred in this
14   filing.
15   DATED: October 15, 2021                  By: /s/ Rollin A. Ransom
16                                            Rollin A. Ransom

17
18
19
20
21
22
23
24
25
26
27
28
                                                 -12-
                              DEFENDANT’S JOINT MOTION IN LIMINE NO. 2
